         Case 2:24-bk-53688          Doc 39 Filed 04/29/25 Entered 04/29/25 10:14:36                Desc
                                          Hearing/BK Page 1 of 1
Form 30hrgbk
(Rev. 9/24)

                                    UNITED STATES BANKRUPTCY COURT
                                       SOUTHERN DISTRICT OF OHIO
                                            EASTERN DIVISION

In re:                                                    :
            Ryan Firestone,                               :     Case No. 24−53688
            Sara Firestone                                :     Chapter 13
                                                          :     Judge John E. Hoffman Jr.
               Debtors.                                   :
                                                          :
SSN:        xxx−xx−5122
            xxx−xx−2500


                        NOTICE TO CREDITORS AND OTHER PARTIES IN INTEREST



Notice is hereby given that a hearing will be held at:

ADDRESS:        Courtroom A, U.S. Bankruptcy Court, 170 North High Street, Fifth Floor, Columbus, OH 43215

DATE:           5/20/25

TIME:           02:00 PM


      TO CONSIDER AND ACT ON THE FOLLOWING MATTERS and transact such other business as may
properly come before the Court: Application for compensation for Laura M. Nesbitt (Doc. 36). A representative from
the Chapter 13 trustees office is directed to appear.

No unauthorized weapons are permitted on the court's premises. Cellular phones and portable electronic
devices are permitted provided that they are not used to take photographs or record any court proceedings
unless otherwise authorized by the court.


Dated: April 29, 2025
                                                                   FOR THE COURT:
                                                                   Richard B. Jones
                                                                   Clerk, U.S. Bankruptcy Court
